          Case 6:24-cv-00362-XR Document 43 Filed 09/11/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

FACTOR2 MULTIMEDIA SYSTEMS, LLC,        §
                                        §
           Plaintiff,                   § Civil Action No. 6:24-cv-00362-XR
                                        §
      v.                                §
                                        §
EARLY WARNING SERVICES, LLC;            § Complaint Filed: July 9, 2024
BANK OF AMERICA CORPORATION;            §
TRUIST FINANCIAL CORPORATION;           §
CAPITAL ONE FINANCIAL CORPORATION;      §
JPMORGAN CHASE & CO.;                   §
THE PNC FINANCIAL SERVICES GROUP, INC.; §
U.S. BANCORP; AND                       §
WELLS FARGO & COMPANY,                  §
                                        §
           Defendant.                   §

                        NOTICE OF APPEARANCE OF COUNSEL

       Steve D. Moore of Kilpatrick Townsend & Stockton LLP hereby appears as counsel for

Defendant Early Warning Services, LLC in this action and respectfully requests to be included on

the ECF service list and to receive notices from the Court. Mr. Moore is admitted to practice in

the United States District Court for the Western District of Texas.

Dated: September 11, 2024

                                             Respectfully submitted,

                                             By: /s/ Steve D. Moore
                                             Steven D. Moore
                                             California Bar No. 290875
                                             KILPATRICK TOWNSEND & STOCKTON LLP
                                             Two Embarcadero Center, Suite 1900
                                             San Francisco, CA 94111
                                             Tel: (415) 576-0200
                                             Fax: (415) 576-0300
                                             smoore@ktslaw.com
                                             Attorney for Defendant,
                                             Early Warning Services, LLC


                                               -1-
       KILPATRICK TOWNSEND 78810443 1
           Case 6:24-cv-00362-XR Document 43 Filed 09/11/24 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2024, a true and correct copy of the foregoing

document was served on all counsel of record deemed to have agreed to be served electronically

by filing the same with the Court’s CM/ECF system, which will send notifications of such filing

to all counsel of record.

                                           /s/ Steve D. Moore
                                           Steve D. Moore




                                             -2-
       KILPATRICK TOWNSEND 78810443 1
